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 1                                                     THE HONORABLE JOHN H. CHUN

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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

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 9   FEDERAL TRADE COMMISSION, et al.,               CASE NO.: 2:23-cv-01495-JHC

10                   Plaintiffs,                     PLAINTIFF COMMONWEALTH
                                                     OF PENNSYLVANIA’S MOTION
11              v.                                   FOR RECONSIDERATION

12   AMAZON.COM, INC., a corporation,
                                                     NOTE ON MOTION CALENDAR:
13                   Defendant.                      October 15, 2024

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     MOTION FOR RECONSIDERATION - 1         PENNSYLVANIA OFFICE OF ATTORNEY GENERAL
     CASE NO. 2:23-cv-01495-JHC                                 Strawberry Square, 14th Floor
                                                                       Harrisburg, PA 17120
                                                                             (717) 787-4530
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 1          Pursuant to Fed. R. Civ. P. 54(b) and LCR 7(h), Plaintiff Commonwealth of Pennsylvania

 2   (the “Commonwealth”) hereby respectfully requests that this Court reconsider part of its

 3   September 30, 2024 Order granting in part and denying in part Defendant’s Motion to Dismiss

 4   the Amended Complaint (Dkt. #289) (the “Decision”). The Commonwealth respectfully

 5   contends that the portion of the Court's Decision dismissing Count XVIII of the Amended

 6   Complaint misapprehends Pennsylvania state law and overlooks allegations which support the

 7   Commonwealth’s Pennsylvania Unfair Trade Practices and Consumer Protection Law

 8   (“PUTPCPL”) claims. Accordingly, the Commonwealth requests that the Court reconsider its

 9   Decision and issue an order reinstating the PUTPCPL claims for unfairness and failure to

10   disclose a material fact that were dismissed by the Court.

11          The Pennsylvania Attorney General enforces the PUTPCPL and pled qualifying conduct

12   in the Commonwealth’s claims in the Amended Complaint (Dkt. #170). Specifically, in Count

13   XVIII, a failure to disclose a material fact is qualifying conduct in stating a violation of Section 3

14   of the PUTPCPL. The Commonwealth pled that, “Amazon deceptively concealed from . . .

15   consumers as to the actual characteristics of the marketplace being other than competitive and

16   fair.” Am. Compl. ¶ 545. Controlling Pennsylvania precedent in Anadarko Petroleum Corp. v.

17   Commonwealth, 206 A.3d 51, 61 (Pa. Commw. 2019), aff'd in part, rev'd in part on other

18   grounds sub nom. Commonwealth v. Chesapeake Energy Corp., 665 Pa. 2, 247 A.3d 934 (Pa.

19   2021), holds that a failure to disclose anticompetitive conduct is actionable under the PUTPCPL.

20          In the Decision, this Court’s analysis of the PUTPCPL cited only one section of the

21   Anadarko holding, where the court found that Count III of the complaint in that case did not state

22   a claim because it did not allege that the relevant conduct came within any of the 21 statutory

23   definitions of unfair methods of competition and unfair or deceptive acts or practices. Decision

24   at 36:18-37:1 (quoting Anadarko, 206 A.3d at 60). However, the Anadarko court on the next
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 1   page of its opinion held that Count IV in that case stated a “UTPCPL-based antitrust claim”

 2   because Count IV did allege conduct coming within the ambit of the PUTPCPL. Anadarko, 206

 3   A.3d at 61. That conduct was the failure to disclose the true characteristics of the marketplace

 4   and challenged agreements being other than “competitive and fair.” Id.

 5             Pennsylvania’s claim here similarly alleges an actionable failure to disclose material

 6   information about Amazon’s consumer-focused conduct. Specifically, the Amended Complaint

 7   contains allegations that Defendant Amazon.com, Inc. (“Amazon”) failed to disclose a material

 8   fact in relation to the characteristics of the marketplace—that Amazon was using the Nessie

 9   pricing algorithm to increase prices and strategically turning it on and off at will to avoid

10   consumers from catching on and to escape regulatory scrutiny. Am. Compl. ¶¶ 419, 421, 428-31,

11   432.1 Indeed, the Court cited these allegations when it denied the motion to dismiss as to Count

12   IV, the Federal Trade Commission’s (“FTC”) challenge to Amazon’s Nessie pricing system.

13   Decision at 25:1-7, 27:4-11, 27:12-14. Accordingly, the Commonwealth did not merely plead

14   anticompetitive conduct in the absence of qualifying conduct; but rather, the Commonwealth

15   pled Amazon failed to disclose a material fact in relation to the characteristics of the

16   marketplace—qualifying conduct in accord with the Anadarko decision. Anadarko, 206 A.3d at

17   61.

18             The preceding analysis from this Court’s Decision applies equally to the

19   Commonwealth’s PUTPCPL claims through the allegations in Paragraphs 533 (unfairness) and

20   545 (deceptive concealment) of the Amended Complaint. In relevant part, the Commonwealth

21   pled that “Amazon’s conduct has been otherwise unfair or unconscionable because they offend

22   public policy as established by statutes . . . .” Am. Compl. ¶ 533. Since the Decision found that

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         These allegations were incorporated into the Commonwealth’s PUTPCPL claim. Am. Compl. ¶¶ 529, 532, 543.
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 1   Count IV stated a claim under Section 5 of the FTC Act as a method of unfair competition,

 2   Count XVIII under the PUTPCPL should as well. Controlling Pennsylvania precedent in Ash v.

 3   Cont'l Ins. Co., 932 A.2d 877, 881–82 (Pa. 2007) holds that a violation of another consumer

 4   protection statute in pari materia with the PUTPCPL is actionable under the PUTPCPL.

 5          Both the FTC Act and the PUTPCPL broadly prohibit “unfair methods of competition

 6   and unfair or deceptive acts or practices.” 73 P.S. § 201–3; 15 U.S.C § 45 (a)(1) (same).

 7   “Indeed, in all relevant respects the language of section 3 of the Consumer Protection Law and

 8   section 5 of the FTC Act is identical.” Com., by Creamer v. Monumental Properties, Inc., 329

 9   A.2d 812, 818 (Pa. 1974). Here, with respect to the specific concealing conduct discussed supra

10   and in the Decision at 27:4-11, the FTC Act and the PUTPCPL both encompass this type of

11   conduct and, as a result, are statutes in pari materia. As such, courts may look to the decisions

12   under the FTC Act for guidance and interpretation. Id. Thus, a claim that states an unfair

13   method of competition involving concealing conduct under the FTC Act should also state a claim

14   under the PUTPCPL.

15          Based on the foregoing, the Commonwealth respectfully requests the Court reconsider its

16   Decision dismissing the Commonwealth’s PUTPCPL claims relating to unfairness and failure to

17   disclose a material fact in Count XVIII and reinstate the count and those claims.

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19   Dated: October 15, 2024                      Respectfully submitted,

20                                                MICHELLE A. HENRY
                                                  Attorney General of Pennsylvania
21
                                                  s/Tracy W. Wertz
22                                                Tracy W. Wertz (admitted pro hac vice)
                                                  Chief Deputy Attorney General
23
                                                  s/ Jennifer A. Thomson
24                                                Jennifer A. Thomson (admitted pro hac vice)
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 1                                        Senior Deputy Attorney General

 2                                        s/Brandon S. Sprecher
                                          Brandon S. Sprecher (admitted pro hac vice)
 3                                        Deputy Attorney General

 4                                        Pennsylvania Office of Attorney General
                                          Strawberry Square, 14th Floor
 5                                        Harrisburg, PA 17120
                                          Telephone: (717) 787-4530
 6                                        Email: twertz@attorneygeneral.gov
                                                 jthomson@attorneygeneral.gov
 7                                               bsprecher@attorneygeneral.gov

 8                                        Attorneys for Plaintiff Commonwealth of
                                          Pennsylvania
 9

10                                        ELLEN F. ROSENBLUM
                                          Attorney General of Oregon
11
                                          s/ Timothy D. Smith
12                                        Timothy D. Smith, WSBA No. 44583
                                          Senior Assistant Attorney General
13                                        Antitrust and False Claims Unit
                                          Oregon Department of Justice
14                                        100 SW Market St
                                          Portland, OR 97201
15                                        Telephone: (503) 934-4400
                                          Email: tim.smith@doj.state.or.us
16
                                          Local Counsel for Plaintiff Commonwealth of
17                                        Pennsylvania

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